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               IN THE UNITED STATES DISTRICT COURT

             FOR THE NORTHERN DISTRICT OF GEORGIA

                               ATLANTA DIVISION

LUCASYS INC.,
                                         Civil Action No.: 1:20-CV-2987
                  Plaintiff,

POWERPLAN, INC.,


                  Defendant.



                     LUCASYS’ OPPOSITION TO
                  POWERPLAN’S MOTION TO DISMISS


     PowerPlan moves to dismiss some—but not all—of Lucasys’ claims. The

Court should deny the motion.

     PowerPlan prevents competition for its software by making baseless claims

against rivals—including Lucasys—and threatening customers who do business

with them. These anticompetitive acts deprive consumers of market alternatives,

which means they pay higher prices for PowerPlan’s subpar product that does not

satisfy their utility management software needs. Federal antitrust law squarely

forbids PowerPlan’s conduct.

     The complaint pleads facts showing PowerPlan protects its software

monopoly from competition by coercing customers not to do business with

consulting-firm rivals who also provide competing software products. PowerPlan


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holds customers’ data hostage, threatens to embroil them in baseless trade-secret

litigation, and forces them to put their data projects on hold and unravel contracts

they awarded based on merit. Yet PowerPlan wrongly argues this is not harm to

competition.

      The complaint also pleads facts showing Lucasys was excluded from the

relevant markets because it won contracts to implement software that competes

with PowerPlan’s software. Yet PowerPlan wrongly argues Lucasys lacks

antitrust standing because PowerPlan squashed Lucasys before it could develop

a complete replacement for PowerPlan’s product.

      The complaint alleges PowerPlan interfered with Lucasys’ contracts—

including a contract Lucasys was awarded over PowerPlan’s competing bid. Yet

PowerPlan wrongly claims it is entitled to interfere with those contracts because

it also has its own relationships with the same customers. Since PowerPlan has a

monopoly giving it a relationship with 99% of the customers in the market, this

argument would immunize PowerPlan’s tortious interference with any

competitor’s contracts. This is not the law.

                                     FACTS

      Defendant PowerPlan provides utility management software for investor-

owned rate-regulated utilities. ¶6.1 It is a monopolist, holding 99% share in the



  1. All paragraph references are to the complaint (Dkt. 1) unless otherwise
noted.

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market, which it has dominated since launching its product in 1994. ¶¶6, 11. It

has little meaningful competition, having acquired its only major competitor in

2008 and quelled every nascent competitive threat since. ¶¶11, 37, 44. It also

serves a niche customer base locked in by extreme switching costs. ¶70. Since it

has not had to compete on price, quality, innovation, or customer service,

PowerPlan’s legacy software is the same core product it launched in 1994—a time

when a 56k dial-up modem was state-of-the-art computer technology. ¶14.

      Customers in the market hold an overwhelmingly negative view of

PowerPlan’s product. Dkt. 1 at 2. It is so clunky and ineffective that it spawned

its own service markets in which utility customers must regularly pay six- to

seven-figure consulting costs to companies like Lucasys to develop software, write

custom code extensions, provide data-consulting services, and integrate the

utility’s data with other applications. ¶15. These additional costly services are

needed just to make customers’ data from PowerPlan useable for the sorts of

purposes they need data in the first place, and then they use that data outside

PowerPlan to perform these basic but fundamentally important functions that

PowerPlan’s software is incapable of performing. ¶¶13–16, 23–24.

      Like the classic monopoly scenario, others who start out competing on the

margins to fulfill the market’s unmet needs eventually start competing directly.

PowerPlan’s response to this competition is not to compete on the merits, but to

quell these budding threats. ¶¶37, 44. When data consulting firms begin seeking

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to provide longer-term technological solutions for their customers who also use

PowerPlan, PowerPlan’s modus operandi is to use its monopoly power to exclude

them from the market, singling them out by selectively claiming the exclusive

right to utilities’ data, making sham legal threats, and ultimately coercing its

locked-in utility customers not to do business with them. ¶¶37–41, 44, 46.

                              The Relevant Markets

      PowerPlan holds a 99% market share in the Utility Management Software

Market. ¶6. The customers in this market are investor-owned rate-regulated

utilities who require purpose-built database software to store, access, analyze,

and compute their data for various operational, accounting, regulatory, and tax

purposes related to their fixed assets. ¶¶12, 65, 68. Lucasys is currently the only

competitor willing and able to compete in the Utility Management Software

Market: it developed and—until PowerPlan interfered—was performing a

contract to implement a full deferred tax software suite to replace a major aspect

of PowerPlan’s utility management software. ¶¶52–54.

      PowerPlan’s ineffective software also created its own market—the

Supplemental Management Services Market—because it lacks necessary

functionality to maintain utilities’ data and to perform core accounting, tax, and

regulatory functions required of rate-regulated utilities. ¶¶15–16. Utility

customers seek out these services from PowerPlan, Lucasys, and several other

competitors. ¶17. Lucasys is among the top competitors in this market because of

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its unique offerings and ability to provide long-term solutions that ultimately

reduce the need for such services, saving utilities time and money. ¶¶28, 79.

      A third market, the Deferred Tax Solutions Market, is either a separate

market or sub-market comprising consulting services and software for specialized

deferred-tax problems that utility customers seek to solve. ¶81. Only PowerPlan,

Lucasys, and one other firm provide services at scale in this market. ¶82.

                                     Lucasys

      Lucasys is a data consulting and software development company that uses

its deep subject-matter expertise to help utility customers with their data issues,

especially to facilitate computations of deferred tax obligations based on tax law

changes in 2018. ¶28. During those engagements, Lucasys works to replace

consulting with long-term software solutions and—contrary to PowerPlan’s

mischaracterization and selective omission of facts in the complaint—it has

developed products that compete with PowerPlan’s software. ¶¶29, 32. Indeed, in

a letter PowerPlan attaches to its motion, PowerPlan asserts that “Lucasys offers

consulting services . . . and software solutions that compete with PowerPlan

software.” Dkt. 18-2 at 2; see also Dkt. 18-3 at 2. One Lucasys product is a cloud-

based software that makes deferred tax computations from customers’ data based

on the federal tax law changes in 2018 and can dynamically account for future tax

law changes or their treatment by rate regulators. ¶30a. PowerPlan’s product is

incapable of making these computations or adapting to future changes because it

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is static—frozen in the regulatory environment of 1994, the same year the world

witnessed O.J. Simpson fleeing police in his white Ford Bronco. ¶30a.

       PowerPlan and Lucasys do not work together. Rather, they each have their

own contracts with customers. ¶¶36, 46, 51, 54, 55. PowerPlan is not a party or

third-party beneficiary to Lucasys’ contracts. See ¶¶34–35, 47–55.

                       PowerPlan’s Exclusionary Practices

       Whenever PowerPlan perceives a nascent competitive threat, it resorts to

the same playbook: it selectively asserts baseless trade secret misappropriation

claims against the competitor and complicit customers.2 ¶44. Lucasys is such a

threat—indeed, it is already competing with software. For example, Lucasys was

awarded a contract by utility AEP—over PowerPlan’s own bid—to both provide

services and build a full software suite (incorporating its product described above)

around taxes that would replace and expand upon PowerPlan’s PowerTax module.

¶35.

       When AEP awarded the contract to Lucasys, PowerPlan made baseless

threats to Lucasys and its individual founders based on vague claims of trade




   2. PowerPlan mischaracterizes this dispute as a race to the courthouse over
PowerPlan’s trade secrets, but the circumstances bely that: PowerPlan began
making its baseless threats a year ago and took no legal action; instead, it coerced
and threatened Lucasys’ customers. ¶¶38–42, 45–55. PowerPlan is content with
allowing competitors who only provide consulting services to access customer data
through PowerPlan, which by definition defeats any arguable trade secret
protection. ¶18.

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secret misappropriation. ¶¶33–34. It said it would “be open” to allowing Lucasys

to continue pure consulting work if Lucasys agreed not to compete, evidencing its

anticompetitive intent with an invitation to a per se unlawful market allocation

conspiracy. ¶42. After Lucasys provided substantial information to PowerPlan

proving that its claims were baseless, PowerPlan nonetheless ascertained all of

Lucasys’ customers and contacted them. ¶¶45–46. PowerPlan asserted the

exclusive right to those customers’ data and threatened to embroil them in

litigation if they did not stop working with Lucasys. ¶¶46–57. PowerPlan also

intimated plans to send letters to all PowerPlan customers making the same

baseless assertions and threats not to do business with Lucasys. ¶58.

                 PowerPlan Harmed Competition and Lucasys

      PowerPlan’s exclusionary conduct reinforces and perpetuates its monopoly

in the Utility Management Software Market by preventing emerging competitors

from competing on the merits, resulting in higher prices, fewer choices, lower

quality, and less innovation. ¶84. It also harmed competition in the Supplemental

Management Services and Deferred Tax Solutions Markets by depriving utility

customers of a choice—in some cases, their specific chosen service provider—and

by reducing output and innovation while ultimately raising prices. ¶¶85–87.

      PowerPlan’s exclusionary conduct is not limited to Lucasys (¶44), but its

most recent actions directly harmed Lucasys: PowerPlan successfully coerced two

of four major Lucasys utility customers to terminate their contracts with Lucasys;

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a third reduced the scope of Lucasys’ contract to exclude the portion competing

with PowerPlan’s software; a fourth contract remains at risk; and countless other

potential customers may not hire Lucasys in the future because of PowerPlan’s

threats and false statements. ¶¶36–37, 46–59, 141, 143, 147–50. Lucasys lost and

continues to lose revenue from current and future opportunities and its ability to

develop its competing software solutions has been hampered. ¶¶59–60.

PowerPlan successfully blocked Lucasys, a competitor who was not just standing

prepared in the wings but was actually developing and implementing unique new

software solutions in the relevant markets. ¶¶30a–c, 35, 37, 43, 52–53.

                              LEGAL STANDARD

      A complaint need only contain “enough facts to state a claim to relief that

is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)

(emphasis added); see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“[T]he

pleading standard Rule 8 announces does not require ‘detailed factual

allegations.’ ”). It must plead “factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Id.;

Jacobs v. Tempur-Pedic Int’l, Inc., 626 F.3d 1327, 1333 (11th Cir. 2010).

Plausibility requires “more than a sheer possibility that a defendant has acted

unlawfully,” but is not akin to a “probability requirement.” Iqbal, 556 U.S. at 678.

      The complaint must be “liberally” construed, Harrigan v. Metro Dade Police

Dep’t Station # 4, 636 F. App’x 470, 473 (11th Cir. 2015); Smith v. Israel, 619 F.

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App’x 839, 842 (11th Cir. 2015), drawing all inferences in favor of the plaintiff.

Iqbal, 556 U.S. at 679. Finally, it “should be read as a whole, not parsed piece by

piece to determine whether each allegation, in isolation, is plausible.” Hernandez-

Cuevas v. Taylor, 723 F.3d 91, 103 (1st Cir. 2013); see also Tellabs, Inc. v. Makor

Issue & Rts., Ltd., 551 U.S. 308, 322–23 (2007); Arar v. Ashcroft, 585 F.3d 559,

619 (2nd Cir. 2009).

                                  ARGUMENT

      The Court should deny PowerPlan’s partial motion to dismiss because the

complaint pleads facts plausibly suggesting Lucasys and competition have been

harmed in each of the relevant markets. This satisfies the antitrust standing and

injury requirements. Lucasys also meets its minimal burden to adequately define

the Deferred Tax Solutions Market. At any rate, Lucasys’ antitrust claims do not

depend on and would survive regardless of the existence of that market. Finally,

PowerPlan cannot invoke the stranger doctrine to immunize it from liability for

interfering with Lucasys’ contracts and relationships just because it has its own

separate relationships with those customers.

       I.   LUCASYS HAS ANTITRUST STANDING TO CHALLENGE
            POWERPLAN’S ANTICOMPETITIVE CONDUCT IN THE
            UTILITY MANAGEMENT SOFTWARE MARKET

      PowerPlan argues that Lucasys does not have antitrust standing because

the complaint lacks allegations that Lucasys “was willing and able to enter the

UMS Market.” Mot. at 10. This argument is built on two faulty premises. First,


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PowerPlan overstates what is required to participate in, or be prepared to enter,

a market. Second, PowerPlan ignores the complaint’s well-pleaded facts—and

PowerPlan’s own admission—that Lucasys already participates in the UMS

Market and is prepared to expand its offerings but for PowerPlan’s

anticompetitive acts.

      The parties do not disagree that “an attempt to enter a market coupled with

a showing of preparedness is sufficient to establish an injury in fact” granting

antitrust standing. Thompson v. Metro. Multi-List, Inc., 934 F.2d 1566, 1572 (11th

Cir. 1991); see also Mot. at 11 (“Where (as here) a plaintiff alleges that it was

prevented from entering a market, a plaintiff must plead that it not only had the

intent to enter the market, but also was prepared to do so.”). PowerPlan argues

further, however, that Lucasys must have a product that is a complete substitute

for PowerPlan’s software to participate in the UMS Market. Mot. at 12. But

PowerPlan does not cite any case law that a complete substitute is needed, and

indeed, this position is inconsistent with both the law and how markets and

competition work in practice.

      In fact, “[a]s long as the plaintiff made a reasonable attempt to enter the

market, our Circuit's case law recognizes that the plaintiff has standing to contest

antitrust violations which create barriers to that market.” Thompson, 934 F.2d at

1572. Moreover, “[t]here are numerous decisions stating that one need not have

an actual going business to obtain standing, but an attempt to enter a business is

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sufficient.” Martin v. Phillips Petroleum Co., 365 F.2d 629, 633 (5th Cir. 1966)

(citations omitted). This makes sense because, otherwise, a monopolist could

illegally maintain its monopoly by destroying any potential competitors while

they are still small or before they progress their competitive offerings to a certain

point—indeed, it would have an incentive to do so if that were the law.

      To determine whether a party made a reasonable attempt to enter a market,

the Court can consider many factors including “the ability of plaintiff to finance

the business and to purchase the necessary facilities and equipment, the

consummation of contracts by the plaintiff, affirmative action by plaintiff to enter

the business, and the background and experience of plaintiff in the prospective

business.” Id. (citations omitted). As alleged in the complaint, these factors show

that Lucasys has made a reasonable attempt to enter the market:

    Lucasys has an ability to finance its development of utility management

      software. Lucasys creates solutions in the context of its existing

      engagements, earns revenue from those engagements, invests in research

      and development efforts, and then deploys them more broadly in the

      market. ¶¶32, 60.

    Lucasys consummated a contract with AEP—one it was awarded over

      PowerPlan’s bid—to develop a module that would completely replace one of

      PowerPlan’s modules in the UMS market. ¶¶35–36.



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    Lucasys took affirmative steps to enter the market: in addition to the AEP

      contract, it developed a deferred-tax product that can replace PowerPlan’s

      PowerTax module. ¶30a. It also demonstrated its preparedness to enter the

      UMS market by building two other technological solutions it has applied in

      the SMS market: a “business process automation tool” and a “toolkit that

      contains several small applications.” ¶30b–c.

    Lucasys’ founders have the background and experience “in software

      development, business consulting, and tax advising” for “utility customers”

      to enter the UMS Market. ¶27.3

These facts demonstrate Lucasys did not merely attempt to enter the UMS

Market; it actually entered it. ¶¶35–36, 54. In fact, PowerPlan’s letters to

customers—attached to its own motion—bely its argument: “Lucasys has been

developing software that directly competes with [PowerPlan’s] software, and

recently started marketing and seeking to sell that software to our customer

base.” Dkt. 18-3 at 2; see also Dkt. 18-2 at 2 (“Lucasys offers . . . software solutions

that compete with PowerPlan software.”).

      Lucasys’ current offerings need not be a complete replacement for

PowerPlan’s    utility   management      software.   Imperfect    substitutes    create



    3.      PowerPlan insinuates something improper from the fact that
Lucasys’ founders all previously worked at PowerPlan, but Lucasys’ founders left
PowerPlan in 2013, 2014, and 2015, and each worked elsewhere before founding
Lucasys. ¶27.

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competitive pressures within markets. Phillip E. Areeda (late) & Herbert

Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their

Application ¶756b6 (4th ed. 2020 Cum. Supp. 2013-2019) (“[T]he availability of

the imperfect substitute tends to put a ceiling on the monopolist's price.”).

Avoiding these competitive pressures—which will force PowerPlan to improve its

product, lower prices, or both—is precisely why PowerPlan sought to cripple

Lucasys as it entered the UMS Market. ¶40. Accordingly, the complaint’s factual

allegations are sufficient to establish Lucasys’ antitrust standing at the pleading

stage.4

      II.     POWERPLAN’S     UNLAWFUL     CONDUCT                         HARMS
              COMPETITION IN THE RELEVANT MARKETS

      PowerPlan argues that Lucasys’ antitrust claims fail because there has

been no harm to competition, just harm to a single competitor. Mot. at 14. Again,

PowerPlan is wrong. The complaint alleges PowerPlan’s modus operandi is to

quell competition in the early stages of any technological offerings before they can

become a serious threat to PowerPlan’s failing product. Lucasys is PowerPlan’s

latest victim, but it also offered the sole competing software product in each of the

relevant markets at the time of its exclusion, so its exclusion is harm to



  4. Notably, PowerPlan relies exclusively on cases decided at the summary
judgment stage, which is not the standard that applies on a motion to dismiss.
See Mot. at 11–12 (citing Sunbeam TV Corp. v. Nielsen Media Rsch., Inc., 711 F.3d
1264, 1271 (11th Cir. 2013) and Gas Utils. Co. v. S. Nat. Gas Co., 996 F.2d 282,
283 (11th Cir. 1993)).

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competition. ¶28–31. Moreover, the complaint alleges in detail how competition—

and the consumers who benefit from it—have been harmed beyond injury to

Lucasys.

      Contrary to PowerPlan’s assertion that the allegation that its exclusionary

conduct “raises prices” or “decreases the quality” is “pure speculation,” (Mot. at

16) the complaint alleges detailed facts demonstrating competitive harm. For

example, it alleges anticompetitive outcomes related to specific customers in the

SMS and DTS markets: PowerPlan coerced NextEra into terminating its contract

with Lucasys, leading NextEra to forego the work entirely. This is a decrease in

output—a classic example of harm to competition. ¶¶48–49; Ohio v. AMEX Co.,

138 S. Ct. 2274, 2284 (2018) (reduced output is harm to competition). PowerPlan

also coerced Liberty Utilities into terminating its contract with Lucasys, causing

it to lose its preferred vendor and pay higher effective prices—another classic

example of harm to competition. ¶51; AMEX, 138 S. Ct. at 2284 (higher prices is

harm to competition). PowerPlan’s actions have also put at risk at least two other

contracts, where both the customers and Lucasys will suffer similar

anticompetitive harm should PowerPlan’s unlawful conduct succeed. ¶¶52–55.

      The complaint also alleges another type of harm to competition: loss of

consumer choice. “Coercive activity that prevents its victims from making free

choices between market alternatives is inherently destructive of competitive

conditions.” Associated Gen. Contractors v. Cal. State Council of Carpenters, 459

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U.S. 519, 528 (1983). PowerPlan coerced its customers not to work with Lucasys.

And since Lucasys is the sole competitor of PowerPlan that currently offers

software solutions in the relevant markets, this reduction in consumer choice is

commensurate with a reduction in competition. See, e.g., Procaps S.A. v. Patheon

Inc., 141 F. Supp. 3d 1246, 1275–77 (S.D. Fla., 2015) (acknowledging that

reduction in consumer choice can constitute harm to competition). That, of course,

also goes to decreased quality: the complaint is replete with details about the

inadequacy of and customer dissatisfaction with PowerPlan’s product. By

excluding firms like Lucasys, PowerPlan not only reduces choice, it relieves itself

of the competitive pressure to put resources into improving its own inadequate

product.

      Full Draw Productions v. Easton Sports, Inc., 182 F.3d 745 (10th Cir. 1999),

is instructive. There, the organizer of an archery trade show organized a group

boycott of its sole competitor. Id. at 748. As PowerPlan does here, the defendant

argued that competition wasn’t harmed, just the one competitor. Id. at 755. The

court rejected this argument, observing it was “hard to imagine a closer

connection between anticompetitive effect and injury” than where a party

destroys its only competitor. Id. at 754. Similarly, Lucasys is the only competitor

other than PowerPlan offering software solutions in both the UMS Market and

the SMS Market/DTS Market. Its loss therefore “ ‘stems from a competition-

reducing aspect or effect of defendant's behavior,’ and accordingly is antitrust

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injury.” Id. This case, just as in Full Draw, “is not one in which it is alleged that

a competitor fell prey to competition; it is one in which it is alleged that

competition fell prey to a competitor.” Id.

     III.   THE  COMPLAINT    SUFFICIENTLY                      DETAILS        THE
            DEFERRED TAX SOLUTIONS MARKET

      Besides the Utility Management Software Market and the Supplemental

Management Solutions Market, the complaint details a third separate or sub-

market, either in addition to or in the alternative: the Deferred Tax Solutions

Market. PowerPlan attacks this proposed market definition. But the complaint

adequately pleads details about the Deferred Tax Solutions Market to meet the

minimal burden required at this stage while also demonstrating injury to

competition and to Lucasys.

      Market definition is a “deeply fact-intensive inquiry not ordinarily subject

to dismissal at the pleadings stage” except “where the plaintiff has failed to

articulate a plausible explanation as to why a market should be limited in a

particular way.” Concord Assocs. v. Ent. Props. Tr., 817 F.3d 46, 53 (2d Cir. 2016);

Duty Free Ams., Inc. v. Estee Lauder Cos., 797 F.3d 1248, 1264 (11th Cir. 2015)

(“Defining the relevant product market is a fact-intensive endeavor.”); E.I. du

Pont de Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 435, 443 (4th Cir. 2011)

(“Because market definition is a deeply fact-intensive inquiry, courts hesitate to

grant motions to dismiss for failure to plead a relevant product market.”).



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         A complaint need only “explain why the market it alleges is the relevant,

economically significant product market” if it is not too narrow or economically

implausible. Concord Assocs., 817 F.3d at 54; Polypore Int'l, Inc. v. FTC, 686 F.3d

1208, 1217 (11th Cir. 2012) (“Defining a relevant product market is primarily a

process of describing those groups of producers which, because of the similarity of

their products, have the ability—actual or potential—to take significant amounts

of business away from each other.”); see also Heerwagen v. Clear Channel

Commc’ns, 435 F.3d 219, 227 (2d Cir. 2006) (geographic market measured by

where sellers operate and where consumers can turn for the services). Market

definition is a means, not an end; it merely aids in the search for competitive

injury. Actual detrimental effects—such as a reduction of output—obviates the

need for a more elaborate inquiry even at later stages of the case. FTC v. Ind.

Fed’n of Dentists, 476 U.S. 447, 460–61 (1986).

         PowerPlan relies on Jacobs, which involved a plaintiff that tried to plead an

artificially narrow market for visco-elastic foam mattresses separately from the

much broader market for mattresses generally. It was an obviously transparent

effort     to   overcome     the   significant   rule-of-reason    hurdles—showing

anticompetitive effects in the relevant market—for a claim concerning Tempur-

Pedic’s vertical resale price maintenance practices right on the heels of the

Supreme Court’s decision in Leegin. Jacobs, 626 F.3d at 1334–36; Leegin Creative

Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877 (2007) (holding that vertical resale

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price maintenance claims are judged under rule of reason). Leegin stressed that

vertical resale price restraints have myriad procompetitive benefits and that

without market power, the anticompetitive effects “may not be a serious concern”

because they restrain only intrabrand competition. Leegin, 551 U.S. at 898. The

complaint alleged Tempur-Pedic sold 80–90% of all visco-elastic mattresses, but

its share in the much broader market for mattresses generally would obviously be

much smaller—not enough to establish market power. Jacobs, 626 F.3d at 1340.

And, of course, a visco-elastic mattress has obvious substitutes.

      Lucasys’ complaint, by contrast, does not attempt to artificially define a

narrow, separate submarket to give the illusion of market power (here, monopoly

power) where it does not exist. For Lucasys’ claims to proceed, the only market in

which it needs to allege facts showing market (or monopoly) power is the Utility

Management Software Market.

      Moreover, Lucasys does plead the sorts of economically significant detail

that PowerPlan suggests the complaint lacks including, for example, “the

product’s peculiar characteristics and uses” and “specialized vendors.” Deferred

Tax Solutions concern data and calculations for the Tax Cuts and Jobs Act of 2017,

which created significant tax and rate-case implications for utilities that vary

from jurisdiction to jurisdiction. ¶¶21–24. There are only three primary

competitors with the subject-matter expertise to provide these solutions at a scale

(¶¶25, 27) such that they could “take significant amounts of business away from

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each other.” Polypore Int'l, 686 F.3d at 1217. Unlike visco-elastic mattresses,

there are no apparent substitutes for these niche, highly specialized deferred tax

solutions. And Lucasys’ exclusion from the DTS Market is harm to competition as

explained in the previous section.

      IV.   POWERPLAN IS A STRANGER TO LUCASYS’ CONTRACTS
            WHO CANNOT AVOID LIABILITY FOR ITS TORTIOUS
            INTERFERENCE

      PowerPlan seeks to avoid liability for tortious interference by invoking the

stranger doctrine, arguing that the existence of its own, separate contractual

relationships with Lucasys’ customers give it the right to interfere with Lucasys’

contracts. But PowerPlan conflates having its own relationships with Lucasys’

customers with being a party to Lucasys’ contracts. It is not a party (or even a

third-party beneficiary) to those contracts, so it does not have a free pass to

interfere with them. If relationships with mutual customers were sufficient for

the stranger doctrine to preclude liability as PowerPlan suggests, a monopolist

who does business with all the customers in an industry would simply be immune

from any tortious interference claim. That, of course, is not the law. ¶141.

      PowerPlan attempts to invoke the four factors from Sis, LLC v. Stoneridge

Holdings, Inc. to suggest it is not a stranger to Lucasys’ relationships. 1:17-CV-

01816-ELR, 2019 WL 8277244, at *7 (N.D. Ga. Feb. 5, 2019). But it does not meet

any of those four factors:




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        First, PowerPlan is not an essential entity to the contracts or relations at

issue. See Renden, Inc. v. Liberty Real Est. Ltd. P’ship III, 213 Ga. App. 333, 336

(1994) (finding that a lessor was “an essential entity” to subletting part of its

property by a tenant because tenant’s right to sublease was stated in the lessor’s

lease). In fact, Lucasys seeks to replace PowerPlan as a consultant and software

provider and does not work with PowerPlan. ¶¶35, 39, 40, 43.

        Second, along those same lines, the injured relations are not inextricably a

part of or dependent upon PowerPlan’s business relations. Lucasys must access

its customers’ data through PowerPlan’s software to the extent that data is stored

through PowerPlan’s software. Other than providing customers with software

that stores those customers’ data, PowerPlan has nothing to do with what Lucasys

is doing for its customers. If PowerPlan’s theory were correct, then Microsoft

would be immune from virtually all tortious interference claims relating to

software because most software is run through Windows operating systems

licensed to customers by Microsoft. Indeed, PowerPlan’s connection is even more

tenuous than Microsoft’s since it is the customers’ data that Lucasys interfaces

with.

        Third, PowerPlan does not benefit from Lucasys’ contracts and

relationships with the customers PowerPlan tortiously interfered with. Quite the

opposite: those contracts and relationships are directly adverse to PowerPlan’s

interest—they take business away from PowerPlan. ¶¶35, 37, 40–41, 142.

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      Last, the complaint contains no allegations suggesting Lucasys and

PowerPlan are parties to a comprehensive interwoven set of contracts or relations.

See Howerton v. Harbin Clinic, LLC, 333 Ga. App. 191, 198 (2015) (finding that a

comprehensive interwoven set of contracts occurs when “each of the parties to any

individual contract involved in the transaction is a third-party beneficiary of the

other contracts necessary to complete the project.”); see also Jefferson-Pilot

Commc’ns Co. v. Phoenix City Broad., Ltd., 205 Ga. App. 57, 60 (1992) (finding

parties were part of an interwoven set of contracts for the sale of a business when

the set of contracts were for financing the sale, construction, and transfer of

ownership of the business). PowerPlan is not a third party-beneficiary to Lucasys’

contracts or relationships—it is a stranger to them. ¶144.

      Even if PowerPlan could point to facts in the complaint showing Lucasys’

and PowerPlan’s business relationships are interwoven (it cannot), it would only

be because PowerPlan created a “wall” around its customers that requires any

third party to interact with PowerPlan’s software to access a customer’s data. At

best, PowerPlan happens to have relationships with some of the same businesses

as Lucasys—but it is still a stranger to Lucasys’ contracts and Lucasys’

relationship with its customers through those contracts.5 All Star, Inc. v. Fellows,



     5.     PowerPlan also argues that it has “a legitimate economic interest . . .
in the Lucasys principals” that immunizes it from a tortious interference claim.
Dkt. 18-1 at 25 n.5. But the complaint provides no support for PowerPlan’s


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297 Ga. App. 142, 143 (2009). The complaint does not allege Lucasys contracted

with PowerPlan or that any of Lucasys’ contracts relate to PowerPlan. It just

happens that customers’ data is stored somewhere and the customer and Lucasys

need to access the data to perform work related to the data. ¶¶35, 39–40, 43, 50,

55, 142. PowerPlan is strictly a competitor to Lucasys, and that makes it a

stranger. Tidikis v. Network for Med. Communc’ns & Rsch. LLC, 274 Ga. App.

807, 812 (2005) (“[T]o be liable for tortious interference, one must be a stranger to

both the contract at issue and the business relationship giving rise to and

underpinning the contract.”).

      The cases PowerPlan relies on to claim otherwise are inapposite. Atlanta

Fiberglass USA, LLC v. KPI, Co., 911 F. Supp. 2d 1247 (N.D. Ga. 2012), concerned

a plaintiff and defendant who were in business together and even contracted with

one another. Lucasys and PowerPlan are competitors with no contracts to which

they are both a party. ¶¶35–63. In Ashford International, Inc. v. World Bank

Group, No. 1:04-CV-3822-JOF, 2006 WL 783357 (N.D. Ga. 2006), the defendants

were “intrinsically involved” in the bidding process in which plaintiff took part

because the defendants controlled the bidding process. Id. at *1, *6. PowerPlan

has no control or involvement—other than as a potential competing bidder (and

thus, literally, a stranger)—in the bidding processes Lucasys took part in. In Bond



purported economic interest in former employees who left the company 5–7 years
ago.

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Safeguard Insurance Co. v. Wells Fargo Bank, N.A., No. 1:13-CV-3874-AT, 2014

WL 12629942 (N.D. Ga. July 30, 2014), the defendant lent funds for the purchase

of lots at issue and thus had a direct economic interest in the contracts concerning

those lots, more akin to a third-party beneficiary. Id. at *5. PowerPlan did not

provide any funding related to Lucasys’ contracts with its customers.

      Ultimately, it would be an absurd result contrary to the underlying

rationale for tortious interference liability if PowerPlan were immune simply

because it has its own separate contractual relationships with some of the same

customers that Lucasys has contractual relationships with and is competing for

their business.

                                 CONCLUSION

      For the foregoing reasons, the Court should deny PowerPlan’s motion to

dismiss. If the Court grants the motion, Lucasys requests leave to file an amended

complaint.

      Respectfully submitted this 16th day of October, 2020.


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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 16th day of October, 2020, Plaintiff Lucasys

Inc.’s Opposition to Powerplan, Inc.’s Motion to Dismiss Pursuant to Rule

12(b)(6) was filed electronically with the Clerk of the Court using the CM/ECF

system which will send a notification of such filing to all counsel of record in

this matter.



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